        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 1 of 14



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES EVERETT SHELTON                            │ Case No. 2:18-cv-03723
                                                 │
                                                 │ Hon. JOSHUA D. WOLSON
                                                 │
              Plaintiff,                         │
       v.                                        │
FCS CAPITAL LLC et al.                           │
                                                 │
                                                 │
              Defendants.                        │

REO LAW, LLC
By: Bryan Anthony Reo
P.O. Box 5100
Mentor, OH 44061
(Business): (216) 505-0811
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Attorney for James Shelton


                                PLAINTIFF’S MOTION FOR
                                 SUMMARY JUDGMENT

       Plaintiff James Shelton, by and through the undersigned counsel, hereby moves this

Honorable Court to enter an order granting summary judgment in favor of Plaintiff Shelton as to

all claims against Defendants FCS CAPITAL LLC, doing business as Funding Capital Source,

doing business as Business Debt Experts, formerly known as Business Debt Relief LLC, Emil

Yashayev, and Barry Shargel on the basis that Defendants failed to timely respond to Requests for

Admission which are now deemed admitted via F.R.C.P Rule 36.

       A brief in support is attached to this motion as well as a proposed order.

                                             RESPECTFULLY SUBMITTED,

                                             /s/ BRYAN ANTHONY REO_________
                                             REO LAW LLC
                                             By: Bryan Anthony Reo (#0097470)

                                                1
Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 2 of 14



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                               2
         Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 3 of 14



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES EVERETT SHELTON                             │ Case No. 2:18-cv-03723
                                                  │
                                                  │ Hon. JOSHUA D. WOLSON
                                                  │
               Plaintiff,                         │
       v.                                         │
FCS CAPITAL LLC et al.                            │
                                                  │
                                                  │
               Defendant.                         │

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                    BRIEF IN SUPPORT OF MOTION FOR SUMMARY
                             JUDGMENT ON ALL CLAIMS

       This case was initiated on August 30, 2018. Plaintiff Shelton was initially pro se. Defense

Counsel appeared in the case but prior to appearance of Plaintiff’s Counsel in the case. Plaintiff’s

Counsel entered his appearance via a pro hac vice application [which was granted] on February

21, 2019 and assumed representation of Plaintiff Shelton.

       On July 12, 2019 the Court issued a scheduling order that all discovery would be completed

by September 10, 2019 On July 21, 2019, Plaintiff, through Counsel, served upon Defendant, via

USPS mail and via electronic means [proof of email attached as Exhibit 1] to defense counsel’s

email address [joshualthomas@gmail.com], Requests for Admission [attached as Exhibit 2], in

addition to also serving Requests for Production of Documents and Interrogatories.




                                                 3
         Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 4 of 14



       Defendants elected not to respond to *any* of Plaintiff’s discovery or to coordinate and

cooperate with Plaintiff in any way. Defendant also elected not to propound one single discovery

request upon Plaintiff. In short, Defendant has borrowed a page from Fast Advance Funding, LLC

and elected not to participate in this case. See Shelton v. Fast Advance Funding, LLC, 2:18-cv-

02071-CFK, (E.D. Pa. May 8, 2019) wherein the Honorable Judge Chad F. Kenney held:

       In completely failing to participate in discovery and in ignoring Plaintiffs
       requests for information despite FRCP 36(a)(3)'s requirement that a "matter is
       admitted unless ... the party ... serves ... a written answer or objection," Defendant
       compelled the Court to find for the Plaintiff. FRCP 36 provides the parties an
       opportunity to "reduce the area of dispute at the trial," and allows the parties to
       provide a "studied response" made by the party with the "direction and
       supervision of counsel." Airco Indus. Gases, Inc. Div. of the BOC Grp., Inc. v.
       Teamsters Health & Welfare Pension Fund of Philadelphia & Vicinity, 850 F.2d
       1028, 1036 (3d Cir. 1988). "Rule 36 serves two vital purposes, both of which are
       designed to reduce trial time. Admissions are sought, first to facilitate proof with
       respect to issues that cannot be eliminated from the case, and secondly, to narrow
       the issues by eliminating those that can be." Langer v. Monarch Life Ins. Co., 966
       F .2d 786, 803 (3d Cir. 1992).


       The instant action with Defendants in this case is essentially identical to the situation

from Shelton v. Fast Advance Funding. Indeed, Defendants make repeated references to Plaintiff

Shelton’s case against Fast Advance Funding in their Motion to Dismiss filed February 12, 2019

and were obviously following the Fast Advance Funding case and were well-aware of that case.

The situation can be summed up thusly, “Plaintiff timely propounded Requests for Admission,

Defendants blew the Requests for Admission off, Defendants never participated in this case in

any meaningful capacity, and now the procedurally proper result is that Plaintiff prevails and

Defendants lose.”

       Pursuant to Fed. R. Civ. P. 36(a)(3), “A matter is admitted unless, within 30 days after

being served, the party to whom the request is directed serves the requesting party a written answer

or objection addressed to the matter and signed by the party or its attorney.”

                                                 4
         Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 5 of 14



 NO GENUINE DISPUTE OF MATERIAL FACT EXISTS BECAUSE DEFENDANTS
 HAVE ADMITTED EVERY SINGLE ALLEGATION IN PLAINTIFF’S COMPLAINT
                  VIA REQUESTS FOR ADMISSION.

       Plaintiff properly propounded discovery and Requests for Admission upon Defendants in

physical form via USPS First Class Mail, and in text modifiable format in word and PDF via

electronic mail [e-mail].

       “The purpose of Rule 36(a) is to narrow the issues for trial to those which are genuinely

contested.” United Coal Cos. v. Powell Constr. Co., 839 F.2d 958, 967 (3d Cir. 1988).

       Federal Rule of Civil Procedure 36(a)(3) provides that unless an answer or objection is

served upon a party requesting admissions within 30 days, the "matter is admitted." Goodman v.

Mead Johnson & Co., 534 F.2d 566, 573 (3d Cir. 1976); McNeil v. AT&T Universal Card, 192

F.R.D. 492, 494 (E.D. Pa. 2000) ("Plaintiffs never responded to the requests for admissions, and

therefore the matters addressed in the requests for admission are deemed admitted."); Siss v.

County of Passaic, 75 F. Supp. 2d 325, 331 (D. N.J. 1999). Thus, a matter deemed admitted for a

failure to respond to a request for admissions will be treated as dispositive in a motion for

summary judgment. E.g., Anchorage Assocs. v. Virgin Islands Bd. of Tax Review, 922 F.2d 168,

176 n.7 (3d Cir. 1990) ("This Court and others have held that 'deemed admissions' under Fed. R.

Civ. P. 36(a) are sufficient to support orders of summary judgment"); Rissinger v. State Farm

Ins., Case No. 1:14-CV-2439, 2016 WL 3027822, *3 (M.D. Pa. May 27, 2016); Harrison v.

Ammons, Case No. 1:05–CV–2323, 2009 WL 2588834, *4 (M.D. Pa. Aug. 19, 2009). Here the

Defendants have completely failed to respond.

       The Third Circuit has held that an admission of facts under Rule 36 “is not merely

another layer of evidence, upon which the district court can superimpose its own assessment of

weight and validity,” but rather is an “unassailable statement of fact that narrows the triable



                                                 5
         Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 6 of 14



issues in the case.” Airco Indus. Gases, Inc. v. Teamsters Health & Welfare Pen. Fund, 850 F.2d

1028, 1037 (3d Cir. 1988) (holding that district court’s factual finding, which contradicted a

party admission, was clearly erroneous); see also McSparran v. Hanigan, 225 F. Supp. 628 (E.D.

Pa. 1963) (Freedman, J.), aff’d sub nom. McSparran v. Subers, 356 F.2d 983 (3rd Cir. 1966)

(granting defendant’s motion for judgment notwithstanding the verdict where an “issue [that] had

been removed from controversy by plaintiff’s admission of [defendant]’s request” was submitted

to the jury in error).

        Summary judgment is appropriate where there is no genuine issue as to any material fact

and the movant is entitled to judgment as a matter of law. Fed.R.Civ.P. 56(c)(2); Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986); Startzell v. City of

Philadelphia, 533 F.3d 183, 192 (3d Cir. 2008); also see Davis v. Mountaire Farms, Inc., 453 F.3d

554, 556 (3d Cir.2006).

        Through the Requests for Admission which are now irrefutably admitted, Plaintiff has fully

discharged his burden as the moving party under F.R.C.P 56 and is entitled to summary judgment

as to all of his claims against Defendants. The Requests for Admissions propounded upon

Defendants were not denied and as such are admitted, irrefutably admitted, and thus there is no

genuine issue of material fact and it is clear that reasonable minds could come to but one

conclusion, a conclusion adverse to the Defendants.



        Request #16 provides- Admit to all allegations, factual and legal, in Plaintiff’s complaint.

With that Request for Admission, along with the others, there is no genuine dispute of a single

material fact. Defendants have admitted to everything.




                                                 6
         Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 7 of 14



       Here Defendants have not cooperated in any way with discovery, not responded to

interrogatories, and not responded to requests for production. Defendants have not taken this case

seriously.

       Based on the Requests for Admission which are now admitted, the only reasonable

conclusion that any trier of fact could come to is one that is adverse to the Defendants. Summary

judgment should be entered in Plaintiff’s favor.

                                            TCPA Violations

       Plaintiff has alleged the following violations of the Telephone Consumer Protection Act

(“TCPA”): placing a telemarketing call to Plaintiff’s cellular telephone number using an

“automatic telephone dialing system” (“ATDS”), 47 U.S.C. § 227(b)(1)(A); making a telephone

solicitation to Plaintiffs cellular phone number which was included in the National Do Not Call

Registry, 47 U.S.C. § 227(c)(3)(F) and 47 C.F.R. § 64.1200(c)(2); initiating a call for

telemarketing purposes to his cellular phone without having a written policy, available on

demand, for maintaining an internal do-not-call list, 47 C.F.R. § 64.1200(d)(l); failing to record

his do-not-call request at the time such a request was made and failing to honor his do-not-call

request within 30 days from the date of the request, 47 C.F.R. § 64.1200(d)(3).

       Request #55 provides- “Admit that the 18 calls Defendants placed to Plaintiff all violated

       the TCPA, 227(c).”



       Request #56 provides- “Admit that the 18 calls Defendants placed to Plaintiff all violated

       the TCPA, 227(b).”



       Request #57 provides- “Admit that Defendants made all of the calls knowingly.”



                                                   7
        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 8 of 14




       Request #58 provides- “Admit that Defendants made all of the calls willfully.”



       Request #59 provides- “Admit that Defendants were aware of the facts that constituted the

       offense.”



       Request #60 provides- “Admit Defendants were acting of their own volition when they

       made the calls.”



       Request #61 provides- “Admit that treble damages are warranted on all of Plaintiff’s claims

       where treble damages are statutorily available.”



       Damages under Section 227(b) of the TCPA (Autodialed Calls)

       Plaintiff is entitled to bring a private right of action for violation of the regulations

prescribed under §227(b)(1)(A) pursuant to 47 U.S.C. § 227(b)(3)(B) for every call made to his

cell phone using an “automatic telephone dialing system” (“ATDS”). Here, there are eighteen (18)

violations of 227(b), as established by Request for Admission #56. Plaintiff is further entitled to

recover actual damages or “receive $500 in damages for each such violation,” whichever is greater.

If the court finds that the defendant willfully or knowingly violated the regulations prescribed

under this subsection, Plaintiff may recover treble damages of $1,500 per call. 47 U.S.C. §

227(b)(3)(B). Plaintiff is entitled to recover treble damages of $1,500 per violation of §227(b)

because Defendants made all of the calls knowingly and willfully. See RFAs # 57-58. Defendants

were aware of the facts that constituted the offense. RFA #59. Defendants were acting of their own



                                                8
         Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 9 of 14



volition when they made the calls. RFA #60. Finally, Defendants admitted that treble damages are

warranted on all of Plaintiff’s claims where treble damages are statutorily available. RFA #61.

       Therefore, Plaintiff is entitled to recover $1,500 for each call made using an ATDS, of

which there were 18, for a total of $27,000 in damages under Section 227(b).



       Damages under Section 227(c) of the TCPA (Calling a number on the DNC list):

       Plaintiff is entitled to bring a private right of action for violation of the regulations

prescribed under §227(c) pursuant to §227(c)(5) if he has "received more than one telephone call

within any 12-month period by or on behalf of the same entity." 47 U.S.C. § 227(c)(5). Plaintiff

is further entitled to recover actual damages or "receive up to $500 in damages for each such

violation," whichever is greater, and if the "court finds that the defendant willfully or knowingly

violated the regulations prescribed under this subsection, the court may, in its discretion, increase

the amount of the award to an amount equal to not more than 3 times the amount available under

subparagraph (B) of this paragraph." 47 U.S.C. § 227(c)(5)(C).

       Plaintiff’s number has been successfully registered on the National Do-Not-Call Registry

since June 26, 2015. See Dkt. No. 7 at ¶53 (admitted as per RFA #16, which deemed all

allegations, factual and legal as admitted in the complaint). Also see Exhibit 3, Plaintiff’s DNC

Registration verification email from the Federal Trade Commission confirming that his number

has been on the DNC list since June 26, 2015.

        Here, there were eighteen (18) calls that violated §227(c). RFA #55. Defendants

admitted that Plaintiff has Article III standing to proceed on his claims. RFA #28. Defendants

further admitted that Plaintiff has prudential standing. RFA #29. Therefore, Defendants have no

defenses to liability on Plaintiff’s §227(c) claims. As previously discussed, all 18 calls were



                                                  9
        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 10 of 14



knowing and willful, Defendants were acting of their own volition when they made the calls, and

finally, Defendants admitted that treble damages are warranted on all of Plaintiff’s claims where

treble damages are statutorily available. RFA #61.

       Therefore, Plaintiff is entitled to recover $1,500 for each call to Plaintiff’s number listed

on the National Do-Not-Call Registry, of which there were eighteen (18), for a total of $27,000

in damages under Section 227(b).

                         Plaintiff May Recover Under Both 227(b) and 227(c)

       Courts have found that a plaintiff could recover separate "statutory TCPA damages for §

227(b) and § 227(c) violations arising from the same phone call." Drew, 2016 WL 9185292, at

*10; Roylance v. ALG Real Estate Servs., Inc., Case No. 14-cv-2445-PSG, 2015 WL 1522244, at

*10 (N.D. Cal. Mar. 16, 2015). In Roylance, the district court explained that "'the fact that the

statute includes separate provisions for statutory damages in subsections (b) and (c) suggests that

a plaintiff could recover under both.'" 2015 WL 1522244, at *10 (quoting Charvat v. NMP, LLC,

656 F.3d 440, 448 (6th Cir. 2011).

       In the Eastern District of Pennsylvania, judges have routinely award Plaintiffs damages

under both sections of the TCPA, 227(b) and 227(c). See Perrong v. Tranzvia, LLC., Civ. No.

2:17-cv-03664, at *1 (E.D. Pa. Apr. 5, 2018)(Judge Joel H. Slomsky awarded treble damages of

$1,500 for each violation of 227(b) and 227(c)); Shelton v. Doan Sols., LLC., Civ. No. 2:17-cv-

02368, at *5 (E.D. Pa. July 18, 2017)(Judge Legrome D. Davis, same); Shelton v. Capital

Advances LLC, Civ. No. 2:18-cv-02186, at *13 (E.D. Pa. July 25, 2018)(Judge Timothy J.

Savage awarded damages of $500 for each violation of 227(b) and 227(c)); Newell v. Optima

Advocates, Inc., Civ. No. 2:18-cv-04183 at *13 (E.D. Pa. July 17, 2019)(Judge Gerald A.

McHugh, same); Perrong v. Stars and Stripes Chimney Services, LLC, LLC, Civ. No. 2:19-cv-



                                                 10
        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 11 of 14



00039 at *12 (E.D. Pa. July 29, 2019)(Judge Gene E.K. Pratter, same); Perrong v. Space Coast

Marketing, LLC, Civ. No. 2:18-cv-05510 at *15 (E.D. Pa. July 17, 2019)(Judge Gerald A.

McHugh, same).


    Statutory Damages for Violations of Pennsylvania’s Telemarketer Registration Act

       Plaintiff also alleges that the Defendants violated the Pennsylvania’s Unfair Trade

Practices and Consumer Protection Law, 73 P.S. § 201-1 et seq. (“PCPL”) due to their violation

of Pennsylvania’s Telemarketer Registration Act, 73 P.S. § 2241 et seq. (“PTRA”). Dkt. No. 13,

¶3. The calls that occurred after July 31, 2018 were a violation of the PTRA because they were

made to his residential telephone number that [Plaintiff] had placed on the Commonwealth of

Pennsylvania Do Not Call list. ¶4. The PTRA prohibits any call to numbers on Pennsylvania’s

Do Not Call list:

       No telemarketer shall initiate or cause to be initiated a telephone solicitation call to
       a residential telephone number of a residential telephone subscriber who does not
       wish to receive telephone solicitation calls and has caused his name, address and
       telephone number to be enrolled on a do-not-call- list maintained by the list
       administrator. This prohibition shall be effective 30 days after a quarterly do-not-
       call list is issued by the list administrator which first contains a residential telephone
       subscriber’s name, address and residential telephone number.

See 73 P.S. § 2245.2.

       The statutory violation described above is also a violation of Pennsylvania’s Unfair Trade

Practices and Consumer Protection Law, 73 P.S. § 2246(a). Pursuant to 73 P.S. § 201-9.2(a),

Plaintiff is entitled to recover statutory damages in the amount of $100.00 per illegal call to

Plaintiff’s number which was on PA’s Do Not Call list, of which there were five (5). Because the

violations were knowing and willful (RFAs #57-58), and because Defendant admitted treble

damages are warranted (RFA #61), Plaintiff respectfully requests that the Court award treble

damages of $300 for each of the five (5) calls in violation of the PTRA, for total damages of


                                                  11
        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 12 of 14



$1,500 pursuant to the PCPL.

        Finally, Plaintiff respectfully requests $4,200 in attorney’s fees, because the PTRA and

PCLC provide for an award of attorney’s fees and costs. Plaintiff’s counsel expended a total of

fourteen (14) hours in this case (rounded down). Plaintiff’s reasonable hourly rate is $300.00 per

hour. Plaintiff also seeks to recover the costs associated with bringing this action, which would

be $400.00 for the filing fee and approximately $40.00 in certified mailing expenses to serve

Defendants.

       In the aggregate Plaintiff seeks $27,000 in statutory damages for violations of Section

227(b) of the TCPA, $27,000 in statutory damages for violations of Section 227(c), $1,500 in

statutory damages for violations of the PTRA, for a total of $55,500.00. Plaintiff further seeks

$450 in recoverable costs for the filing fee and service of process on the Defendants. See 28

U.S.C. § 1920; Fed. R. Civ. P. 54(d). Finally, Plaintiff seeks $4,200.00 in attorney’s fees for a

total award of $60,150.00, jointly and severally against all three Defendants (FCS Capital LLC,

Emil Yashayev, and Barry Shargel), exclusive of pre-judgment interest, which Plaintiff will seek

via a post-judgment motion for the same.

                                            Conclusion

       As Judge Kenney said, “anybody that ignores Request for Admissions, ignores them at

their own expense.” Tr. Oral Argument, 6:8-10, Shelton v. Fast Advance Funding, LLC, No. 18-

cv-02071 (E.D. Pa May 1, 2019), ECF. No. 65. The expense in the present case is

calculated as $60,150.00 dollars.




                                                 12
        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 13 of 14




                             Certificate of Service
I, Bryan Anthony Reo, do hereby certify and affirm that a true and accurate copy of the foregoing
document was submitted to the Court’s Electronic Filing System on September 17, 2019, which
should serve said document upon all attorneys of record for the instant civil action:
                                            /s/ BRYAN ANTHONY REO_________
                                            REO LAW LLC
                                            By: Bryan Anthony Reo (#0097470)
                                            P.O. Box 5100
                                            Mentor, OH 44061
                                            (Business): (216) 505-0811
                                            (Mobile): (440) 313-5893
                                            (E): Reo@ReoLaw.org
                                            Attorney for Plaintiff James Shelton




                                               13
        Case 2:18-cv-03723-JDW Document 35 Filed 09/17/19 Page 14 of 14



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES SHELTON                                     │ Case No. 2:18-cv-02071-CFK
                                                  │
                                                  │ Hon. JOSHUA D. WOLSON
                                                  │
               Plaintiff,                         │
       v.                                         │
FCS CAPITAL LLC et al.                            │
                                                  │
                                                  │
               Defendant.                         │

                             ORDER GRANTING PLAINTIFF’S
                            MOTION FOR SUMMARY JUDGMENT

       THIS MATTER came to be considered by the Court pursuant to the Plaintiff’s Motion for
Summary Judgment filed by Plaintiff in the above-captioned cause. The Court having considered
the Motion and being fully advised of the premises, it is, therefore,


       ORDERED and ADJUDGED:
       1.         That the Plaintiff’s Motion for Summary Judgment is hereby granted.
       2.         A hearing on damages is set for ______________.
       3.         Damages are determined as _____________.




       DONE AND ORDERED in Pennsylvania, Eastern District of Pennsylvania, this ____ day
of __________, 2019.


       ___________________________________
       JOSHUA D. WOLSON- UNITED STATES DISTRICT COURT EASTERN DISTRICT
OF PENNSYLVANIA
       Copies to:
       Bryan Anthony Reo
       Clayton Morrow
       Joshua Thomas

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